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                    IN THE UNITED STATE DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF TENNESSEE
                              WESTERN DIVISION
______________________________________________________________________________

UNITED STATES OF AMERICA,

       Plaintiff,

v.
                                                    CR. NO. 2:23-cr-20191-MSN-5
EMMITT MARTIN, III,
TADARRIUS BEAN, DEMETRIUS
HALEY, DESMOND MILLS, JR.,
AND JUSTIN SMITH

      Defendants.
______________________________________________________________________________

    SUPPLEMENTATION AND ADDENDUM TO THE POSITION PAPERS FILED BY
 DEFENDANT, JUSTIN SMITH, [ECF NO.: 725] IN RESPONSE TO THE PRESENTENCE
                            REPORT [ECF NO.: 714]
______________________________________________________________________________

       COMES NOW, Defendant, Justin Smith, by and through his counsel of record, and

files this his Supplementation and Addendum to the Position Papers Filed in Response to the

Presentence Report and would state and show unto the Court the following:

       1.      On December 18, 2024, the United States Probation Office filed its Presentence

Investigation Report with regard to the Defendant, Justin Smith. [ECF No.: 714]

       2.      On January 7, 2025, Defendant, Justin Smith, filed his Position Paper With

Respect to Sentencing Factors. [ECF No.: 725]

       3.      Counsel for Justin Smith would adopt, as if copied verbatim herein, his earlier

response and position paper to the Presentence Report where he fully and fairly examined the

position of the Probation Office and objected where appropriate.
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        4.        Since the filing of his original Position Paper, Justin Smith has stood trial in state

court for charges ranging from Second-Degree Murder, Aggravated Assault, Aggravated

Kidnapping, Official Misconduct and Official Oppression, and all of its lesser included offenses

totaling twenty-one (21) counts. Justin Smith was unanimously acquitted of all counts on May 7,

2025.

        5.        As such, any reference to any pending criminal charges against Justin Smith

should be amended in the Presentence Report.

        6.        In addition, Justin Smith would call to the Court and Probation Office’s attention

the following irregularities.

        7.        In ECF No.: 741-1 filed on January 15, 2025, entitled “Addendum to the

Presentence Report for Tadarrius Bean,” the Probation Office concedes that with the amendment

to the 2024 sentencing guidelines, acquitted conduct cannot be included in establishing the

guideline range.

        8.        At page four (4) of five (5) of the Addendum, Page ID 15054, the Probation

Officer states:

                  If the Court finds that a cross reference pursuant to USSG
                  §2J1.2(c)(1) is not appropriate and an adjustment under USSG
                  §3B1.3 is not applied, the guideline calculations would be as
                  follows: . . .

        9.        In the Probation Office’s calculation wherein a cross reference is not utilized to

Second-Degree Murder or any acts of violence, the Probation Office concluded that Mr. Bean

would have a total offense level of twelve (12).

        10.       To date, the Probation Office has not issued an addendum or amended the

Presentence Report for Justin Smith, but believes that both the Probation Office and this Court




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understand that both Mr. Bean and Mr. Smith were each convicted of the single count of

Obstruction of Justice – Witness Tampering.

       11.     Defendant, Justin Smith, would request that the Probation Office amend its

Presentence Report taking into account the arguments made in Justin Smith’s original Position

Paper [ECF No.: 725] as well as the recent acquittal of all state criminal charges.

                                              Respectfully submitted,

                                              /s/Martin Zummach
                                              Martin Zummach #16352
                                              Attorney for Defendant, Justin Smith
                                              2889 Chattering Lane
                                              Southaven, MS 38672
                                              (901) 482-5909


                                  CERTIFICATE OF SERVICE

         The undersigned certifies that on the 15th day of May, 2025, a copy of the
foregoing document was electronically filed with court clerk using the ECF System, and
that upon filing, a copy will be sent via the Court’s ECF System to all registered parties
in this case.

                                              S/Martin Zummach




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